                                     U. S. COURT OF APPEALS - EIGHTH CIRCUIT
                                           NOTICE OF APPEAL SUPPLEMENT

                      MISSOURI WESTERN DISTRICT - KANSAS CITY
Please note any additions or deletions to the style of the case from the style listed on the docket sheet (or attach an amended
docket sheet with the final style of the case).


 Case Caption: Sitzer et al v. National Association                    Case No.     19-cv-00332-SRB
 of Realtors et al
 Appellant: Spring Way Center, LLC, Nancy                              Appellee: National Association of Realtors
 Wehrheim, John and Nancy Moratis,                                     et al
 Danielle and Jessie Kay, Kaitlyn Slavic, and
 Maria Iannome
 Appellant’s Attorney(s):                                              Appellee’s Attorney(s):

 Andrew J Horowitz                                                     Alexander Barrett
 Email: andrew.horowitz@obermayer.com                                  Email: alexander.barrett@stinson.com

 Bruce C Fox                                                           Charles W. Hatfield
 Email: bruce.fox@obermayer.com                                        Email: chuck.hatfield@stinson.com

                                                                       David R. Buchanan
                                                                       Email: dbuchanan@bjpc.com

                                                                       Ethan Glass
                                                                       Email: eglass@cooley.com

                                                                       Jack R. Bierig
                                                                       Email: jack.bierig@afslaw.com

                                                                       Jacob K Danziger
                                                                       Email: jacob.danziger@afslaw.com

                                                                       John S Purcell
                                                                       Email: john.purcell@afslaw.com

                                                                       Molly L Wiltshire
                                                                       Email: molly.wiltshire@afslaw.com

                                                                       Robert J Wierenga
                                                                       Email: robert.wierenga@afslaw.com

                                                                       Suzanne L. Wahl
                                                                       Email: suzanne.wahl@afslaw.com

                                                                       Anne Bigler
                                                                       Email: abigler@cooley.com

                                                                       Beatriz Mejia
                                                                       Email: MEJIAB@cooley.com




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                                   Christopher G Michel
                                   Email: christophermichel@quinnemanuel.com

                                   Deepti Bansal
                                   Email: DBANSAL@cooley.com

                                   Elizabeth Wright
                                   Email: ewright@cooley.com

                                   John Bash
                                   Email: johnbash@quinnemanuel.com

                                   Michael D Bonanno
                                   Email: mikebonanno@quinnemanuel.com

                                   Michael Sebring
                                   Email: michaelsebring@quinnemanuel.com

                                   Rachel G Frank
                                   Email: rachelfrank@quinnemanuel.com

                                   Samantha Strauss
                                   Email: sastrauss@cooley.com

                                   Sarah M. Topol
                                   Email: stopol@cooley.com

                                   William A Burck
                                   Email: williamburck@quinnemanuel.com

                                   Georgina Inglis
                                   Email: ginglis@cooley.com

                                   Brian C Fries
                                   Email: brian.fries@lathropgpm.com

                                   Jean Paul Bradshaw , II
                                   Email: jeanpaul.bradshaw@lathropgpm.com

                                   Jennifer M. Keas
                                   Email: jkeas@foley.com

                                   Matthew T Ciulla
                                   Email: matthew.ciulla@macgilllaw.com

                                   Robert D MacGill
                                   Email: robert.macgill@macgilllaw.com

                                   Christopher D. Dusseault
                                   Email: CDusseault@gibsondunn.com

                                   Cynthia Richman
                                   Email: CRichman@gibsondunn.com

                                   Gregg J. Costa
                                   Email: gcosta@gibsondunn.com




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                                             Harry R.S. Philips
                                             Email: HPhillips2@gibsondunn.com

                                             Ian T Hampton
                                             Email: ihampton@foley.com

                                             Anna P. Hayes
                                             Email: anna.hayes@hklaw.com

                                             Danne Wayne Webb
                                             Email: dwebb@hab-law.com

                                             David C. Kully
                                             Email: david.kully@hklaw.com

                                             Jennifer Lada
                                             Email: jennifer.lada@hklaw.com

                                             Martin G. Durkin , Jr
                                             Email: martin.durkin@hklaw.com

                                             Timothy Ray
                                             Email: timothy.ray@hklaw.com

                                             William F. Farley
                                             Email: william.farley@hklaw.com

                                             Barack S Echols
                                             Email: barack.echols@hklaw.com

                                             Boris Bershteyn
                                             Email: boris.bershteyn@skadden.com

                                             Dina McKenney
                                             Email: dina.mckenney@hklaw.com

                                             Taylor L Connolly
                                             Email: tconnolly@bjpc.com

                                             Aaron Van Oort
                                             Email: aaron.vanoort@faegredrinker.com




                                             Please return files and documents to:
 Court Reporter(s):                          United States District Court
                                             400 East 9th Street, Room 1510
 Gayle Wambolt                               Kansas City, MO 64106

                                             Contact Person for Appeal:
                                             Jason_Terry@mow.uscourts.gov

 Length of Trial:     Fee:                 IFP:                  Pending IFP Motion:
 13 Days              Paid                 No                    No
 Counsel:             Pending Motions?     Local Interest?       Simultaneous Release?
 Retained             No                   No                    No

Special Comments:
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